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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Richard M. Shove                                                                                                    Check if this is:
                                                                                                                                                                                                                            An amended filing
                                                                                    Debtor 2        Kathleen E. Shove
                                                                                    (Spouse, if filing)                                                                                                                 Chapter you are filing under:
                                                                                                                                                                                                                            Chapter 7
                                                                                    United States Bankruptcy Court for the District of Massachusetts                                                                        Chapter 11
                                                                                                                                                                                                                            Chapter 12
                                                                                    Case number                                                                                                                             Chapter 13
                                                                                    (If known)



                                                                               Official Form 101
                                                                               Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                         12/17


                                                                               The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together--called a
                                                                               joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a
                                                                               car," the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1
                                                                               and Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2.
                                                                               The same person must be Debtor 1 in all of the forms.

                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:              Identify Yourself

                                                                                                                         About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

                                                                               1.    Your full name                      Richard                                                           Kathleen
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                                                                                                                         First name                                                        First name
                                                                                     Write the name that is on your      M.                                                                E.
                                                                                     government-issued picture           Middle name                                                       Middle name
                                                                                     identification (for example,        Shove                                                             Shove
                                                                                     your driver’s license or
                                                                                                                         Last name                                                         Last name
                                                                                     passport).

                                                                                     Bring your picture                  Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)
                                                                                     identification to your meeting
                                                                                     with the trustee.



                                                                               2.    All other names you have N/A                                                                          N/A
                                                                                     used in the last 8 years. First name                                                                  First name

                                                                                     Include your married or             Middle name                                                       Middle name
                                                                                     maiden names.
                                                                                                                         Last name                                                         Last name

                                                                                                                         Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)

                                                                                                                         N/A                                                               N/A
                                                                                                                         First name                                                        First name

                                                                                                                         Middle name                                                       Middle name

                                                                                                                         Last name                                                         Last name

                                                                                                                         Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)




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                                                                               3.   Only the last 4 digits of   XXX-XX-8485                                                    XXX-XX-2966
                                                                                    your Social Security
                                                                                    number or federal
                                                                                    Individual Taxpayer
                                                                                    Identification number
                                                                                    (ITIN)



                                                                               4.   Any business names and        I have not used any business names or EINs                         I have not used any business names or EINs
                                                                                    Employer Identification
                                                                                    Numbers (EIN) you have Ricks Complete Lawn Care                                            N/A
                                                                                    used in the last 8 years. Business name                                                    Business name
                                                                                                              Ricks Complete Lawn Care                                         N/A
                                                                                    Include trade names and     Business name                                                  Business name
                                                                                    doing business as names.

                                                                                                                XX-XXXXXXX                                                     N/A
                                                                                                                EIN                                                            EIN

                                                                                                                                                                               N/A
                                                                                                                EIN                                                            EIN




                                                                               5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                                                                                                5 Crystal Ave.                                                 Same
                                                                                                                Number    Street                                               Number    Street
                                                                                                                                                                               Same

                                                                                                                Lenox MA 01240                                                 Same Same
                                                                                                                City, State, Zip Code                                          City, State, Zip Code
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                                                                                                                Berkshire                                                      Berkshire
                                                                                                                County                                                         County

                                                                                                                If your mailing address is different from the one              If your mailing address is different from the one
                                                                                                                above, fill it in here. Note that the court will send          above, fill it in here. Note that the court will send
                                                                                                                any notices to you at this mailing address.                    any notices to you at this mailing address.

                                                                                                                PO Box 392                                                     Same
                                                                                                                Number    Street                                               Number    Street
                                                                                                                                                                               Same

                                                                                                                Lenox MA 01240                                                 Same Same
                                                                                                                City, State, Zip Code                                          City, State, Zip Code




                                                                               6.   Why you are choosing        Check one:                                                     Check one:
                                                                                    this district to file for
                                                                                    bankruptcy                        Over the last 180 days before filing this                      Over the last 180 days before filing this
                                                                                                                      petition, I have lived in this district longer                 petition, I have lived in this district longer
                                                                                                                      than in any other district.                                    than in any other district.

                                                                                                                      I have another reason. Explain. (See 28                        I have another reason. Explain. (See 28
                                                                                                                      U.S.C. § 1408.)                                                U.S.C. § 1408.)

                                                                                                                      N/A                                                            N/A




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                                                                                Part 2:        Tell the Court About Your Bankruptcy Case

                                                                               7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
                                                                                    Bankruptcy Code you are Bankruptcy (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
                                                                                    choosing to file under
                                                                                                                Chapter 7

                                                                                                                        Chapter 11

                                                                                                                        Chapter 12

                                                                                                                        Chapter 13



                                                                               8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                                                                                        local court for more details about how you may pay. Typically, if you are paying the fee
                                                                                                                        yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                                                                                        submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                                                                                                        a pre-printed address.

                                                                                                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application
                                                                                                                        for Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                                                                                                        I request that my fee be waived (You may request this option only if you are filing for Chapter
                                                                                                                        7. By law, a judge may, but is not required to, waive your fee, and may do so only if your income
                                                                                                                        is less than 150% of the official poverty line that applies to your family size and you are unable
                                                                                                                        to pay the fee in installments). If you choose this option, you must fill out the Application to
                                                                                                                        Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



                                                                               9.   Have you filed for                  No
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                                                                                    bankruptcy within the
                                                                                    last 8 years?                       Yes       District   N/A                        When                       Case number
                                                                                                                                                                                 MM/DD/YYYY

                                                                                                                                  District   N/A                        When                       Case number
                                                                                                                                                                                 MM/DD/YYYY

                                                                                                                                  District   N/A                        When                       Case number
                                                                                                                                                                                 MM/DD/YYYY




                                                                               10. Are any bankruptcy                   No
                                                                                   cases pending or being
                                                                                   filed by a spouse who is             Yes       Debtor     N/A                                                   Relationship
                                                                                   not filing this case with
                                                                                   you, or by a business                          District                              When                       Case number
                                                                                   partner, or by an                                                                             MM/DD/YYYY
                                                                                   affiliate?

                                                                                                                                  Debtor     N/A                                                   Relationship

                                                                                                                                  District                              When                       Case number
                                                                                                                                                                                 MM/DD/YYYY




                                                                               11. Do you rent your                     No. Go to line 12.
                                                                                   residence?                           Yes. Has your landlord obtained an eviction judgment against you?

                                                                                                                                  No. Go to line 12.
                                                                                                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                                                                                                  part of this bankruptcy petition.




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                                                                                Part 3:         Report About Any Businesses You Own as a Sole Proprietor



                                                                               12. Are you a sole proprietor              No.    Go to Part 4.
                                                                                   of any full- or part-time
                                                                                   business?

                                                                                    A sole proprietorship is a
                                                                                    business you operate as an
                                                                                    individual, and is not a
                                                                                    separate legal entity such as
                                                                                    a corporation, partnership, or
                                                                                    LLC.


                                                                                Part 4:         Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                                                               14. Do you own or have any                 No.
                                                                                   property that poses or
                                                                                   is alleged to pose a                   Yes.
                                                                                   threat of imminent and
                                                                                   identifiable hazard to
                                                                                   public health or
                                                                                   safety? Or do you own
                                                                                   any property that needs
                                                                                   immediate attention?

                                                                                    For example, do you own
                                                                                    perishable goods, or
                                                                                    livestock that must be fed,
                                                                                    or a building that needs
                                                                                    urgent repairs?
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                                                                                Part 5:         Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                                                                                      About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

                                                                               15. Tell the court whether             You must check one:                                          You must check one:
                                                                                   you have received
                                                                                   briefing about credit                  I received a briefing from an approved                        I received a briefing from an approved
                                                                                                                          credit counseling agency within the 180                       credit counseling agency within the 180
                                                                                   counseling.                            days before I filed this bankruptcy                           days before I filed this bankruptcy petition,
                                                                                                                          petition, and I received a certificate of                     and I received a certificate of completion.
                                                                                    The law requires that you
                                                                                                                          completion.
                                                                                    receive a briefing about credit
                                                                                                                                                                                        Attach a copy of the certificate and the
                                                                                    counseling before you file for
                                                                                                                          Attach a copy of the certificate and the                      payment plan, if any, that you developed with
                                                                                    bankruptcy. You must
                                                                                                                          payment plan, if any, that you developed with                 the agency.
                                                                                    truthfully check one of the
                                                                                                                          the agency.
                                                                                    following choices. If you
                                                                                                                                                                                        I received a briefing from an approved
                                                                                    cannot do so, you are not
                                                                                                                          I received a briefing from an approved                        credit counseling agency within the 180
                                                                                    eligible to file.
                                                                                                                          credit counseling agency within the 180                       days before I filed this bankruptcy petition,
                                                                                                                          days before I filed this bankruptcy petition,                 but I do not have a certificate of completion.
                                                                                    If you file anyway, the court
                                                                                                                          but I do not have a certificate of
                                                                                    can dismiss your case, you will
                                                                                                                          completion.                                                   Within 14 days after you file this bankruptcy
                                                                                    lose whatever filing fee you
                                                                                                                                                                                        petition, you MUST file a copy of the
                                                                                    paid, and your creditors can
                                                                                                                          Within 14 days after you file this bankruptcy                 certificate and payment plan, if any.
                                                                                    begin collection activities
                                                                                                                          petition, you MUST file a copy of the
                                                                                    again.
                                                                                                                          certificate and payment plan, if any.




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                                                                                                             About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):
                                                                                                                 I certify that I asked for credit                            I certify that I asked for credit
                                                                                                                 counseling services from an approved                         counseling services from an approved
                                                                                                                 agency, but was unable to obtain those                       agency, but was unable to obtain those
                                                                                                                 services during the 7 days after I made my                   services during the 7 days after I made my
                                                                                                                 request, and exigent circumstances merit                     request, and exigent circumstances merit a
                                                                                                                 a 30-day temporary waiver of the                             30-day temporary waiver of the
                                                                                                                 requirement.                                                 requirement.

                                                                                                                 To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                                                                                                 requirement, attach a separate sheet                         requirement, attach a separate sheet
                                                                                                                 explaining what efforts you made to obtain the               explaining what efforts you made to obtain the
                                                                                                                 briefing, why you were unable to obtain it                   briefing, why you were unable to obtain it
                                                                                                                 before you filed for bankruptcy, and what                    before you filed for bankruptcy, and what
                                                                                                                 exigent circumstances required you to file this              exigent circumstances required you to file this
                                                                                                                 case.                                                        case.

                                                                                                                 Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                                                                                                 dissatisfied with your reasons for not                       dissatisfied with your reasons for not receiving
                                                                                                                 receiving a briefing before you filed for                    a briefing before you filed for bankruptcy. If
                                                                                                                 bankruptcy. If the court is satisfied with your              the court is satisfied with your reasons, you
                                                                                                                 reasons, you must still receive a briefing                   must still receive a briefing within 30 days
                                                                                                                 within 30 days after you file. You must file a               after you file. You must file a certificate
                                                                                                                 certificate from the approved agency, along                  from the approved agency, along with a copy
                                                                                                                 with a copy of the payment plan you                          of the payment plan you developed, if any. If
                                                                                                                 developed, if any. If you do not do so, your                 you do not do so, your case may be dismissed.
                                                                                                                 case may be dismissed.
                                                                                                                                                                              Any extension of the 30-day deadline is
                                                                                                                 Any extension of the 30-day deadline is                      granted only for cause and is limited to a
                                                                                                                 granted only for cause and is limited to a                   maximum of 15 days.
                                                                                                                 maximum of 15 days.

                                                                                                                 I am not required to receive a briefing                      I am not required to receive a briefing
                                                                                                                 about credit counseling because of:                          about credit counseling because of:

                                                                                                                      Incapacity.     I have a mental illness                      Incapacity.     I have a mental illness or
                                                                                                                                      or a mental deficiency                                       a mental deficiency that
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                                                                                                                                      that makes me incapable                                      makes me incapable of
                                                                                                                                      of realizing or making                                       realizing or making
                                                                                                                                      rational decisions about                                     rational decisions about
                                                                                                                                      finances.                                                    finances.

                                                                                                                      Disability.     My physical disability                       Disability.     My physical disability
                                                                                                                                      causes me to be unable to                                    causes me to be unable to
                                                                                                                                      participate in a briefing                                    participate in a briefing
                                                                                                                                      in person, by phone, or                                      in person, by phone, or
                                                                                                                                      through the internet, even                                   through the internet, even
                                                                                                                                      after I reasonably tried to                                  after I reasonably tried to
                                                                                                                                      do so.                                                       do so.

                                                                                                                      Active duty.    I am currently on active                     Active duty.    I am currently on active
                                                                                                                                      military duty in a                                           military duty in a military
                                                                                                                                      military combat zone.                                        combat zone.

                                                                                                                 If you believe you are not required to receive a             If you believe you are not required to receive a
                                                                                                                 briefing about credit counseling, you must file              briefing about credit counseling, you must file
                                                                                                                 a motion for waiver of credit counseling with                a motion for waiver of credit counseling with
                                                                                                                 the court.                                                   the court.




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                                                                                Part 6:        Answer These Questions for Reporting Purposes

                                                                               16. What kind of debts do       16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
                                                                                   you have?                           "incurred by an individual primarily for a personal, family, or household purpose."

                                                                                                                             No. Go to line 16b.
                                                                                                                             Yes. Go to line 17.

                                                                                                               16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                                                                                       money for a business or investment or through the operation of the business or investment.

                                                                                                                             No. Go to line 16c.
                                                                                                                             Yes. Go to line 17.

                                                                                                               16c.    State the type of debts you owe that are not consumer debts or business debts: N/A



                                                                               17. Are you filing under               No. I am not filing under Chapter 7. Go to line 18.
                                                                                   Chapter 7?
                                                                                                                      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
                                                                                                                           administrative expenses are paid that funds will be available to distribute to unsecured creditors?
                                                                                    Do you estimate that
                                                                                    after any exempt                            No.
                                                                                    property is excluded and
                                                                                    administrative expenses                     Yes.
                                                                                    are paid that funds will
                                                                                    be available for
                                                                                    distribution to
                                                                                    unsecured creditors?



                                                                               18. How many creditors do              1-49                                   1,000 - 5,000                         25,001 - 50,000
                                                                                   you estimate that you              50-99                                  5,001 - 10,000                        50,001 - 100,000
                                                                                                                      100-199                                10,001 - 25,000                       More than 100,000
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                                                                                   owe?
                                                                                                                      200-999



                                                                               19. How much do you                    $0 to $50,000                          $1,000,001 to $10 million             $500,000,001 to $1 billion
                                                                                   estimate your assets to            $50,001 to $100,000                    $10,000,001 to $50 million            $1,000,000,001 to $10 billion
                                                                                   be worth?                          $100,001 to $500,000                   $50,000,001, to $100 million          $10,000,000,001 to $50 billion
                                                                                                                      $500,001 to $1 million                 $100,000,001 to $500 million          More than $50 billion



                                                                               20. How much do you                    $0 to $50,000                          $1,000,001 to $10 million             $500,000,001 to $1 billion
                                                                                   estimate your liabilities          $50,001 to $100,000                    $10,000,001 to $50 million            $1,000,000,001 to $10 billion
                                                                                   to be?                             $100,001 to $500,000                   $50,000,001, to $100 million          $10,000,000,001 to $50 billion
                                                                                                                      $500,001 to $1 million                 $100,000,001 to $500 million          More than $50 billion




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                                                                                Part 7:        Sign Below

                                                                               For you                               I have examined this petition, and I declare under penalty of perjury that the information provided is true and
                                                                                                                     correct.

                                                                                                                     If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or
                                                                                                                     13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                                                                                     under Chapter 7.

                                                                                                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill
                                                                                                                     out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                                                                                                     I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                                                                                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                                                                                                     connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or
                                                                                                                     both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                                                     /s/ Richard M. Shove                                                                      12/15/2017
                                                                                                                     Debtor 1                                                                                  MM/DD/YYYY

                                                                                                                     /s/ Kathleen E. Shove                                                                     12/15/2017
                                                                                                                     Debtor 2                                                                                  MM/DD/YYYY



                                                                               For your attorney, if you             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
                                                                               are represented by one                eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                     available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                                                               Note that BkAssist is licensed for    the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
                                                                               use only by attorneys. If you are     knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
                                                                               not represented by an attorney, you
                                                                               may not file this petition.
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                                                                                                                     /s/ Carrie Naatz                                                                          12/15/2017
                                                                                                                     Attorney for Debtor(s)                                                                    MM/DD/YYYY



                                                                                                                     Carrie Naatz
                                                                                                                     Printed name
                                                                                                                     Naatz Law Office
                                                                                                                     Firm name
                                                                                                                     1012 Memorial Ave.
                                                                                                                     Number Street



                                                                                                                     West Springfield MA 01089
                                                                                                                     City, State, ZIP Code

                                                                                                                     413-336-8300                                                Carrie@NaatzLaw.com
                                                                                                                     Contact phone                                               Email address
                                                                                                                     651728
                                                                                                                     Bar number




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